     Case 2:05-cv-04182-SRD-JCW Document 20405 Filed 08/30/11 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF LOUISIANA


                                                      *
IN RE: KATRINA CANAL                                  *
BREACHES
CONSOLIDATED LITIGATION                               *       CIVIL ACTION
                                                      *
                                                      *       NO. 05-4182
                                                      *       and consolidated cases
PERTAINS TO: BARGE                                    *
                                                      *       SECTION “K” (2)
Boutte v. Lafarge                   05-5531           *
Mumford v. Ingram                   05-5724           *
Lagarde v. Lafarge                  06-5342           *       JUDGE
Perry v. Ingram                     06-6299           *       STANWOOD R. DUVAL, JR.
Benoit v. Lafarge                   06-7516           *
Weber v. Lafarge                    08-4459           *       MAGISTRATE
Parfait Family v. USA               07-35001          *       JOSEPH C. WILKINSON, JR.

     LAFARGE NORTH AMERICA INC.’S MOTION FOR SUMMARY JUDGMENT

        Pursuant to Rule 56(c) of the Federal Rules of Civil Procedure, Defendant Lafarge North

America Inc. (“LNA”), by and through its undersigned counsel, hereby moves the Court for

summary judgment on all claims remaining in the above-captioned cases. As this Court found

in its Findings of Fact and Conclusions of Law of January 20, 2011, the record establishes by

“overwhelming evidence that the ING 4727 did not cause in any manner [the] cataclysmic

flooding of the Lower Ninth Ward” during Hurricane Katrina, and that “[s]imply put, the Barge

did not do it.” Doc. 20149 at 41. No reasonable jury could conclude otherwise.

        The grounds for this Motion are set forth more fully in the accompanying memorandum

of law and statement of material facts not in disputed (and exhibits thereto) filed herewith and

incorporated by reference herein.


1
 Parfait Family v. USA, No. 07-3500, remains stayed and administratively closed. Doc. 13525. However, this
motion would apply equally to that case if it were ever to be reopened. See Doc. 32 in No. 07-3500 (granting
summary judgment to Zito Fleeting, LLC and Zito Fleeting, Inc.).



LIBW/1794929.1
     Case 2:05-cv-04182-SRD-JCW Document 20405 Filed 08/30/11 Page 2 of 3




        WHEREFORE, for the reasons stated herein and set forth in the accompanying

memorandum of law, Defendant LNA respectfully requests that the Court grant summary

judgment in favor of LNA.



Dated: August 30, 2011                     Respectfully submitted,


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                                              2
LIBW/1794929.1
     Case 2:05-cv-04182-SRD-JCW Document 20405 Filed 08/30/11 Page 3 of 3




                                      Certificate of Service

       I hereby certify that I have on this 30th day of August, 2011 served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by electronic filing notification.


                                              /s/ John D. Aldock




                                                 3
LIBW/1794929.1
